              Case 3:11-cv-03093-WHA Document 25 Filed 07/08/11 Page 1 of 6




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10
                        IN THE UNITED STATES DISTRICT COURT FOR THE
11
                                  NORTHERN DISTRICT OF CALIFORNIA
12

13   JOHN LARSON                                        )
                                                        ) NO. C 1l-03093-WHA
14                                                      )
                     Plaintiff,                         ) DECLARATION OF
15                                                      ) GEORGE TERP ACK
             v.                                         )
16                                                      )
     UNITED STATES OF AMERICA,                          )
17                                                      )
                     Defendant.                         )
18                                                      )

19
             I, George Terpack, declare as follows:
20
             I.      I am currently employed by the Internal Revenue Service (IRS) as a Revenue
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                     Agent, with a post of duty in Coos Bay, Oregon.
22
             2.      I have been employed by the IRS for almost 30 years.
23
             3.      In the course of my duties, I was assigned to work on the jeopardy assessment
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                     made against John Larson ("the taxpayer") on February 7, 20 II.
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             4.      I am competent to testify in the above-captioned matter because of my work on
26
                     the jeopardy assessment and related matters.
27
             5.      As part of my review ofinfonnation pertaining to the assessments, I understand
28
                     that Mr. Larson, and his colleague Robert Pfaff, left KPMG, an accounting finn,
      Case 3:11-cv-03093-WHA Document 25 Filed 07/08/11 Page 2 of 6




 1         to establish Presidio Advisors LLC (and related entities) on or around 1997.

 2   6.    As part of my review of infonnation pertaining to the assessments, I understand

 3         that Presidio's near-exclusive business was the design, marketing, and execution

 4         of individual tax shelters, primarily in conjunction with KPMG.

 5   7.    Over the course of approximately three years, various Presidio-related entities

 6         took in hundreds of millions of dollars in fees for executing these tax shelters,

 7         yielding tens of millions of dollars in profits directly and indirectly to Larson and

 8         Pfaff.

 9   8.    I attach as Exhibit A a copy of a personal balance sheet for John Larson that is

10         found in the relevant IRS administrative files. The balance sheet reflects that Mr.

11         Larson had a net worth of $21,780,000 as of January 31, 2000.

12   9.    One of the tax shelters designed and promoted by Presidio was known by the

13         acronym "BLIPS." The BLIPS shelter was designed to generate a purported tax

14         loss without generating any corresponding economic loss. The purported losses

15         were generated by assigning an inflated tax basis to a taxpayer's partnership

16         interest (through misuse of tax rules governing the assumption of liabilities).

17   10.   BLIPS was one of a number of abusive schemes that purported to create tax basis

18         through the used of certain types of liabilities that were assumed by partnerships

19         (or other) entities. Upon the sale of an asset with an inflated basis, the taxpayer

20         would report a large tax loss.

21   II.   Mr. Larson did not pay income tax on the millions that he earned through his

22         promotion of abusive tax shelters. Instead, he sheltered millions of dollars of

23         income through his own personal participation (direct and indirect) in a series of

24         abusive tax shelters during the tax years at issue: 1998, 1999,2000 and 2001.

25   12.   The Government eventually discovered the tax shelter schemes that Larson and

26         his colleagues had designed and promoted, and the IRS initiated audits of Larson

27         and several of the business entities through which Larson promoted tax shelters

28         and sheltered his own substantial income. Although the IRS gathered some

           information from Mr. Larson and his entities, the investigation was frozen in 2004

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      Case 3:11-cv-03093-WHA Document 25 Filed 07/08/11 Page 3 of 6




 1         upon the commencement ofa criminal investigation of Mr. Larson's activities.
 2   13.   It is my understanding that the suspension of an IRS civil audit during the

 3         pendency of a criminal investigation helps to ensure that a taxpayer's Fourth
 4         Amendment and Fifth Amendment rights are not inadvertently violated during the

 5         course of a civil investigation.

 6   14.   Upon learning of the impending and likely refund to Mr. Larson of $3,000,0000

 7         by the trial court, the IRS undertook a review process that led to the issuance of a

 8         Notice of Jeopardy Assessment to Mr. Larson on Febmary 7, 2011 and a Notice

 9         of Levy (with respect to the pending refund) on Febmary 8, 2011.

10   15.   The grounds for the making of the jeopardy assessments are contained in the

11         Notice of Febmary 7, 2011.

12   16.   As articulated in the Notice of Jeopardy Assessment, Mr. Larson owes in excess

13         of $1 0 million in unpaid income tax liabilities, and an additional $9 million in

14         interest, for tax years 1998-200 I, mostly related to his participation in abusive tax

15         shelter schemes.

16   17.   Subsequent to the issuance of the notices, the IRS has undertaken an additional

17         examination of the tax years at issue. On April 4, 2011, the IRS issued a statutory

18         notice of deficiency to Mr. Larson that explains the bases for not only the

19         jeopardy assessments but also additional income tax deficiencies and

20         $8,293,033.30 in fraud and negligence penalties that Mr. Larson owes. The

21         notice of deficiency is attached as Exhibit B.

22   18.   The Notice of Deficiency for the 1998 year detennined that the taxpayer failed to

23         report the following amounts:

24   a.    Ordinary income of$345,935 as a flow-through that resulted from the

25         disallowance of a $11,881,813 loss on sale of equipment held by Presidio

26         Advisors, LLC, a TEFRA entity;

27   b.    Ordinary dividend income of $36,370 that flowed through from Prevad, Inc., an

28         S-corporation;

     c.    Ordinary income of $3,450, 170 that flowed through from Prevad, Inc., an S-

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      Case 3:11-cv-03093-WHA Document 25 Filed 07/08/11 Page 4 of 6




 1         corporation; and

 2   d.    Net short-term capital gain $922,064 that flowed through to the taxpayer from JL

 3         Investment Trust, his trust, which had participated in a so-called "Son of Boss"

 4         transaction.

 5   19.   The $922,064 addition to income arises out of Larson's personal participation in

 6         an abusive Son-of-Boss shelter sham transaction.

 7   20.   The $36,370 and the $3,450,170 additions to income from Prevad, Inc. arise out

 8         unreported income to the company.

 9   21.   The Notice of Deficiency for the 1999 year determined that the taxpayer failed to

10         report the following amounts:

11   a.    Ordinary income 0[$8,915,329 as a distributive share that flowed through from

12         Morley Inc., an S-corporation that had allocated its income to a disallowed ESOP;

13   b.    Ordinary income of $8,736,866 as a result of directly engaging in a corporate

14         "BLIPS" transaction, which Mr. Larson engaged in through JL Investment Trust;

15   c.    Ordinary income of $1,124,749 that flowed through from Presidio Resources,

16         LLC, a TEFRA partnership that had entered into "BLIPS" transactions, as a result

17         of disallowed expenses claimed by Presidio Resources, LLC; and

18   d.    Ordinary income of$2,275,000 that the taxpayer received from Norwood

19         Holding, Inc. into his bank account;

20   22.   The $8,915,329 addition to income from Morley, Inc. arises out of Larson's

21         personal participation in an abusive scheme to defer income into future tax years

22         and to convert ordinary income into capital gains.

23   23.   The $8,736,866 addition to income arises out of Larson's personal participation in

24         an abusive BLIPS sham transaction arising out the sale of Prevad stock which had

25         an inflated basis.

26   24.   The Notice of Deficiency for the 2000 year determined that the taxpayer failed to

27         report the following amounts

28   a.    Net capital gain of$2,114,443, as the result of a disallowed net short-term capital

           loss that flowed through from Torpre, Inc. as a result of Torpre, lnc.'s

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      Case 3:11-cv-03093-WHA Document 25 Filed 07/08/11 Page 5 of 6




 1         participation in a "Son of Boss" transaction; and a long-term capital loss that

 2         flowed through from the sale of Prevad.

 3   b.    Ordinary income of $4,265,220, as a distributive share that flowed through from

 4         Morley Inc., an S-corporation that had allocated its income to a disallowed ESOP;

 5         and

 6   c.    Ordinary income of $683,016 that flowed through from Presidio Resources, LLC,

 7         a TEFRA partnership that had entered into a "BLIPS"-type "Son of Boss"

 8         transaction.

 9   25.   The $2,114,443 addition to income arises out of Larson's personal participation in

10         two abusive BLIPS sham transactions.

11   26.   The $4,265,220 addition to income from Morley, Inc. arises out of Larson's

12         personal participation in an abusive scheme to defer income into future tax years

13         and to convert ordinary income into capital gains.

14   27.   The Notice of Deficiency for the 2001 year detennined that the taxpayer failed to

15         report the following amounts:

16   a.    Ordinary income of$6,750 that flowed through from Octavia Capital, LLC, a

17         TEFI'tA entity;

18   b.    Net capital gain of $598,456, as the result of a disallowed capital loss carryover

19         from the taxpayer's Form 1040 for the 1999 tax year;

20   c.    Ordinary income of$2,790,737 as a distributive share that flowed through from

21         Morley Inc., an S-corporation that had allocated its income to a disallowed ESOP.

22   28.   The $2,790,737 addition to income from Morley, Inc. arises out of Larson's

23         personal paliicipation in an abusive scheme to defer income into future tax years

24         and to convert ordinary income into capital gains.

25   29.   I have sent out several summonses to financial institutions requesting documents.

26         I attach copies of information obtained as Exhibit C. In the case of the

27         information provided by Wells Fargo Bank on a CD ROM, I have attached the

28         most recent account statements.



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         Case 3:11-cv-03093-WHA Document 25 Filed 07/08/11 Page 6 of 6




 1   I declare under penalty of perjury that the foregoing is true and correct.
                                                George J.
 2                                              Terpack, Jr,


 3                                             George Terpack
                                               IRS Revenue Agent
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